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IN THE UNITED STATES DISTRICT COURT
FOR THE NORTHERN DISTRICT OF ILLINOIS

EASTERN DIVISION
AMAURY GARCIA, )
Plaintiff, )
Vv. Case No.:
RAYMOND GUERRERO BARRON,

RUHLIG FARMS, LLC, RUHLIG FARMS )
AND GARDENS, LLC, )
TRAVELCENTERS OF AMERICA, LLC, }
TA OPERATING LLC, d/b/a TA TRUCK)
SERVICE, )

Defendants. )

PARTIES

1. Plaintiff, AMAURY GARCIA, is a resident of the State of Illinois residing in
Plainfield, Illinois.

2. At all relevant times, Defendant, RAYMOND GUERRERO BARRON, was a
resident of the State of Michigan residing at 2800 North Monroe, Monroe, MI 48162.

3, At all relevant times, Defendant, RUHLIG FARMS AND GARDENS, LLC, was
and continues to be a Michigan Corporation, authorized to conduct business and conducting
business in the State of Michigan, with its principal place of business located at 24508 Telegraph
Road, Brownstown, MI 48134.

4. At all relevant times, Defendant, RUHLIG FARMS, LLC, was and continues to be
a Michigan corporation, authorized to conduct business and conducting business in the State of
Michigan, with its principal place of business located at 5810 O°’ Hara Road, Carleton, MI 48117.

5. At all relevant times, Defendant, TRAVELCENTERS OF AMERICA, LLC, was a
foreign limited liability company, authorized to conduct business and conducting business in the

State of Ohio, with its principal place of business located at 24601 Center Ridge Road, Westlake,
OH 44145.

6. At all relevant times, Defendant. TA OPERATING LLC. d/b/a TA TRUCK
SERVICE, was and continues to be a foreign limited liability company, authorized to conduct
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business and conducting business in the State of Ohio, with its principal place of business located
~ at 24601 Center Ridge Road, Westlake, OH 44145.

JURISDICTION
7. Plaintiff brings his complaint under federal diversity jurisdiction, 28 U.S.C. §1332,
as the parties are completely diverse in citizenship and the amount in controversy exceeds seventy-

five thousand USD ($75,000.00).

COMPLAINT |
Count I

NOW COMES Plaintiff, AMAURY GARCIA, by and through his attorneys, LEITER
LAW OFFICES, and for this Count I of the Complaint against the Defendant, RAYMOND
- GUERRERO BARRON, alleges as foiiows: or

1. That on August 16, 2018, Plaintiff, AMAURY GARCIA, was the driver of an 18-
wheeler truck traveling westbound on J-96 at approximately Elm Road, in Leroy Township,
Ingham County, Michigan.

2. At approximately 5:45 p.m., Plaintiff's vehicle experienced a flat tire, causing him
to pull over to the right shoulder of the highway at about the above location.

3. That on August 17, 2018, Defendant, RAYMOND GUERRERO BARRON was
operating his vehicle traveling westbound on I-96 at approximately Elm Road, in Leroy Township,
Ingham County, Michigan.

4. At approximately 4:52 a.m. on August 17, 2018, Defendant’s vehicle crossed over
onto the right shoulder of the highway, striking Plaintiff's vehicle.

5. At that time and place, Plaintiff, AMAURY GARCIA’S vehicle was stopped.

6. That it was the duty of the Defendant to exercise ordinary care in the operation and

possession and control of his truck so as not to cause injury to Plaintiff, AMAURY GARCIA.

No
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7, Notwithstanding the aforesaid duty, Defendant, RAYMOND GUERRERO

BARRON, negligently and carelessly committed one or more of the following wrongful acts or

omissions:
a. Failed to keep a proper and sufficient lookout;
b. Failed to reduce his speed to avoid the collision;
c. Failed to stop his vehicle in order to avoid the collision;
d. Operated his vehicle at a speed greater than was reasonable in disregard of

traffic conditions and the safety of the traveling public;

e. Failed to see and observe Plaintiff's vehicle when it could and should have been
seen and observed; mo mo

f. Operated his vehicle while sleeping or tired and/or drowsy behind the wheel;

g. Operated his vehicle while being distracted and/or inattentive to conditions of
the roadway;

h. Was otherwise carless and negligent in driving outside of his lane of traffic and
veering onto the highway’s shoulder.

1. Failed to properly maintain his truck;
j. Failed to be properly trained in the operation of his truck.
8. That as a direct and proximate result of one or more of the aforesaid careless and

negligent acts or omissions, Plaintiff, AMAURY GARCIA, sustained severe and permanent
injuries, including, but not limited to, past and future medical bills, past and future wage lost
wages, pain and suffering. loss of normal life, and permanent disfigurement. The Plaintiff then
and there sustained severe and permanent injuries, and was. and will be, hindered and prevented
from attending to his usual duties and affairs of life. and has lost, and will lose, the values of that
time as aforementioned. Further, Plaintiff suffered great pain and anguish, both in mind and body,

and will, in the future, continue to suffer. Plaintiff further expended and became liable for, and

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will expend and become liable for, large sums of money for medical care and services endeavoring
to become healed and cured of said injuries.

WHEREFORE, the Plaintiff, AMAURY GARCIA, demands judgment against the
Defendant, RAYMOND GUERRERO BARRON, in such amount in excess of SEVENTY-FIVE
THOUSAND DOLLARS ($75,000.00) as may be deemed just and suitable, plus costs of said suit.

Count II

NOW COMES Plaintiff, AMAURY GARCIA, by and through his attorneys, LEITER
LAW OFFICES, and for this Count II of the Complaint against Defendant, RUHLIG FARMS,
LLC., alleges as follows:

1. That on August 16, 2018, Plaintiff, AMAURY GARCIA, was the driver of an 18-
wheeler truck traveling westbound on I-96 at approximately Elm Road, in Leroy Township,
Ingham County, Michigan.

2. At approximately 5:45 p.m., Plaintiff's vehicle experienced a flat tire, causing him
to pull over to the right shoulder of the highway at about the above location.

3. That on August 17, 2018, Defendant, RUHLIG FARMS, LLC., individually and
by and through its agent, servant and/or employee. RAYMOND GUERRERO BARRON, was
operating his vehicle traveling westbound on I-96 at approximately Elm Road, in Leroy Township,
Ingham County, Michigan.

4. At approximately 4:52 a.m. on August 17, 2018. Defendant’s vehicle crossed over
onto the right shoulder of the highway. striking Plaintiff's vehicle.

5. At that time and place, Plaintiff, AMAURY GARCIA‘S vehicle was stopped.

6. That it was the duty of the Defendant to exercise ordinary care in the operation and

possession and control of its truck so as not to cause injury to Plaintiff, AMAURY GARCIA.
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7. Notwithstanding the aforesaid duty, Defendant, RUHLIG FARMS, LLC.,
individually and by and through its agent, servant and/or employee, RAYMOND GUERRERO

BARRON, negligently and carelessly committed one or more of the following wrongful acts or

omissions:
a. Failed to keep a proper and sufficient lookout;
b. Failed to reduce his speed to avoid the collision;
c. Failed to stop his vehicle in order to avoid the collision;
d. Operated his vehicle at a speed greater than was reasonable in disregard of

traffic conditions and the safety of the traveling public;

e€. Failed to see and observe Plaintiff's vehicle when it could and should have been
seen and observed;

f. Operated his vehicle while sleeping or tired and/or drowsy behind the wheel;

g. Operated his vehicle while being distracted and/or inattentive to conditions of
the roadway;

h. Was otherwise carless and negligent in driving outside of his lane of traffic and
veering onto the highway’s shoulder.

i. Failed to properly maintain its truck;
j. Failed to properly train in the operation of its truck.
8. That as a direct and proximate result of one or more of the aforesaid careless and

negligent acts or omissions, Plaintiff, AMAURY GARCIA, sustained severe and permanent
injuries, including, but not limited to, past and future medical bills, past and future wage lost
wages, pain and suffering, loss of normal life, and permanent disfigurement. The Plaintiff then
and there sustained severe and permanent injuries, and was, and will be, hindered and prevented
from attending to his usual duties and affairs of life, and has lost, and will lose, the values of that

time as aforementioned. Further, Plaintiff suffered great pain and anguish, both in mind and body,
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and will, in the future, continue to suffer. Plaintiff further expended and became liable for, and
will expend and become liable for, large sums of money for medical care and services endeavoring
to become healed and cured of said injuries.

WHEREFORE, the Plaintiff, AMAURY GARCIA, demands judgment against the
Defendant, RUHLIG FARMS, LLC., in such amount in excess of SEVENT Y-FIVE THOUSAND
DOLLARS ($75,000.00) as may be deemed just and suitable, plus costs of said suit.

Count Ill

NOW COMES Plaintiff, AMAURY GARCIA, by and through his attorneys, LEITER
‘-LAW OFFICES, and for this Cvani iif of the Cumplaint against Defendant, RUHLIG FARMS
AND GARDENS, LLC, alleges as follows:

1. That on August 16, 2018, Plaintiff, AMAURY GARCIA, was the driver of an 18-
wheeler truck traveling westbound on I-96 at approximately Elm Road, in Leroy Township,
Ingham County, Michigan.

2, At approximately 5:45 p.m., Plaintiff's vehicle experienced a flat tire, causing him
to pull over to the right shoulder of the highway at about the above location.

3. That on August 17, 2018, Defendant, RUHLIG FARMS AND GARDENS, LLC,
individually and by and through its agent, servant and/or employee, RAYMOND GUERRERO
BARRON, was operating his vehicle traveling westbound on I-96 at approximately Elm Road. in
Leroy Township, Ingham County. Michigan.

4. At approximately 4:52 a.m. on August 17, 2018. Defendant’s vehicle crossed over

onto the right.shoulder of the highway. striking Plaintiff's vehicle.

5. At that time and place. Plaintiff. AMAURY GARCIA’S vehicle was stopped.
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6. That it was the duty of the Defendant to exercise ordinary care in the operation and
possession and control of its truck so as not to cause injury to Plaintiff, AMAURY GARCIA.

7. Notwithstanding the aforesaid duty, Defendant, RUHLIG FARMS AND |
GARDENS, LLC, individually and by and through its agent, servant and/or employee,
RAYMOND GUERRERO BARRON, negligently and carelessly committed one or more of the

following wrongtul acts or omissions:

a. Failed to keep a proper and sufficient lookout;

b. Failed to reduce his speed to avoid the collision;

c. Failed to stop his vciwic in uider to avoid the-collision;

d. Operated his vehicle at a speed greater than was reasonable in disregard of

traffic conditions and the safety of the traveling public;

e. Failed to see and observe Plaintiff's vehicle when it could and should have been
seen and observed;

f. Operated his vehicle while sleeping or tired and/or drowsy behind the wheel;

g. Operated his vehicle while being distracted and/or inattentive to conditions of
the roadway;

h. Was otherwise carless and negligent in driving outside of his lane of traffic and
veering onto the highway’s shoulder.

i. Failed to properly maintain its truck;
J. Failed to properly train in the operation of its truck.
8. That as a direct and proximate result of one or more of the aforesaid careless and

negligent acts or omissions, Plaintiff, AMAURY GARCIA. sustained severe and permanent
injuries, including, but not limited to, past and future medical bills, past and future wage lost
wages, pain and suffering, loss of normal life, and permanent disfigurement. The Plaintiff then .

and there sustained severe and permanent injuries, and was, and will be, hindered and prevented
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from attending to his usual duties and affairs of life, and has lost, and will lose, the values of that
time as aforementioned. Further, Plaintiff suffered great pain and anguish, both in mind and body,
and will, in the future, continue to suffer. Plaintiff further expended and became liable for, and
will expend and become liable for, large sums of money for medical care and services endeavoring
to become healed and cured of said injuries.

WHEREFORE, the Plaintiff, AMAURY GARCIA, demands judgment against the
Defendant, RUHLIG FARMS AND GARDENS, LLC, in such amount in excess of SEVENTY-
FIVE THOUSAND DOLLARS ($75,000.00) as may be deemed just and suitable, plus costs of
- said suit.

Count IV

NOW COMES Plaintiff, AMAURY GARCIA, by and through his attorneys, LEITER
LAW OFFICES, and for this Count IV of the Complaint against the Defendant,
TRAVELCENTERS OF AMERICA, LLC., alleges as follows:

1. That on August 17, 2018, and at all relevant times therein, Plaintiff, AMAURY
GARCIA, was a resident of Will County, State of Illinois.

2, That on August 17, 2018, and at all relevant times therein, Defendant,
TRAVELCENTERS OF AMERICA, LLC., was a full-service travel company operating in and
throughout the State of Illinois.

3. That on August 17, 2018, Defendant, TRAVELCENTERS OF AMERICA, LLC.,
was headquartered in Westlake, Ohio.

4. That on August 16, 2018, Plaintiff, AMAURY GARCIA, was the driver of an 18-
wheeler truck traveling westbound on I-96 at approximately Elm Road, in Leroy Township,

Ingham County, Michigan.
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5. At approximately 4:52 p.m., Plaintiff's vehicle experienced a flat tire, causing him
to pull over to the right shoulder of the highway at about the above location.

6. Shortly thereafter 4:52 p.m., Plaintiff, AMAURY GARCIA, contacted Defendant,
TRAVELCENTERS OF AMERICA, LLC., to report the flat tire and request roadside assistance.

7. That an employee, servant and/or agent of Defendant TRAVELCENTERS OF
AMERICA, LLC., expressed to the Plaintiff, AMAURY GARCIA, that they would respond and
provide roadside assistance within the next two hours.

8. That over the course of the following hours, Plaintiff, AMAURY GARCIA, as well
- as person(s) on his behalf; coniacicd TRA VLLCENTERS OF AMERICA, LLC., fo inyaue as io
the status of their roadside assistance.

9. That Plaintiff, AMAURY GARCIA, relied on representations and statements from
Defendant, TRAVELCENTERS OF AMERICA, LLC., that they would in fact respond to the
scene within finite periods of time.

10. As a result of the representations and statements made to Plaintiff, AMAURY
GARCIA, and other person(s) on his behalf, by Defendant, TRAVEL CENTERS OF AMERICA,
Plaintiff waited in his vehicle for their roadside assistance.

11. That at approximately 4:52 a.m., on August 17, 2018, the vehicle driven by Co-
Defendant, RAYMOND GUERRERO BARRON as agent and/or employee of Defendant,
RUHLIG FARMS, LLC., and/or RUHLIG FARMS AND GARDENS. crossed over onto the right
shoulder of the highway, striking Plaintiff's vehicle.

12. That following the above subject collision, after approximately 5:00 a.m., on
August 17, 2018, Defendant, TRAVELCENTERS OF AMERICA, LLC., finally responded to

Plaintiff's roadside assistance call from the prior day.
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13. That Defendant. TRAVELCENTERS OF AMERICA, LLC., had a duty to either
respond to the roadside call in a reasonable amount of time or advise the Plaintiff that he should
seek alternative assistance due to an almost twelve-hour delay in response time.

14. That it was reasonably foreseeable that a vehicle would collide with Plaintiff's
vehicle on the shoulder of the road while waiting for service.

15. | That Defendant knew or should have known that Plaintiff was at an increased risk
of harm by sitting parked on the shoulder of the road for an extended period of time.

16. | That Defendant breached its duty by not responding to the call and not advising the

‘Plaintiff to seek alternativé roadside assistance and-placed the Plaintiff in a positioirof peril and ~~" °

danger by having him wait on the side of the road for almost twelve hours.

17. That as a direct and proximate result of Defendant's careless and negligent act,
Plaintiff, AMAURY GARCIA, sustained severe and permanent injuries, including, but not limited
to, past and future medical bills, past and future wage lost wages, pain and suffering, loss of normal
life, and permanent disfigurement. The Plaintiff then and there sustained severe and permanent
injuries, and was, and will be, hindered and prevented from attending to his usual duties and affairs
of life, and has lost, and will lose. the values of that time as aforementioned. Further, Plaintiff
suffered great pain and anguish. both in mind and body. and will, in the future, continue to suffer.
Plaintiff further expended and became liable for, and will expend and become liable for, large
sums of money for medical care and services endeavoring to become healed and cured of said
injuries.

WHEREFORE, the Plaintiff. AMAURY GARCIA, demands judgment against the

Defendant, TRAVELCENTERS OF AMERICA, LLC., in such amount in excess of SEVENTY-

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FIVE THOUSAND DOLLARS ($75,000.00) as may be deemed just and suitable, plus costs of
said suit.
Count V

NOW COMES Plaintiff. AMAURY GARCIA, by and through his attorneys, LEITER
LAW OFFICES, and for this Count IV of the Complaint against the Defendant, TA OPERATING
LLC, D/B/A TA TRUCK SERVICE, alleges as follows:

1. That on August 17, 2018, and at all relevant times therein, Plaintiff, AMAURY
GARCIA, was a resident of Will County, State of Illinois.

2. - That on Augese i/; Z016,-aud aicall relevant times therein, Defeadani; TA -
OPERATING LLC, d/b/a TA TRUCK SERVICE, was a company providing roadside assistance
to customers in and throughout the State of Illinois.

3. That on August 17, 2018, Defendant, TA OPERATING LLC, d/b/a TA TRUCK
SERVICE, was headquartered in Westlake, Ohio.

4. That on August 16, 2018, Plaintiff, AMAURY GARCIA, was the driver of an 18-
wheeler truck traveling westbound on I-96 at approximately Elm Road, in Leroy Township,
Ingham County, Michigan.

5. At approximately 4:52 p.m., Plaintiff's vehicle experienced a flat tire, causing him
to pull over to the right shoulder of the highway at about the above location.

6. Shortly thereafter 4:52 p.m., Plaintiff, AMAURY GARCIA. contacted Defendant,
TA OPERATING LLC, d/b/a TA TRUCK SERVICE. to report the flat tire and request roadside

assistance.

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7. That an employee. servant and/or agent of Defendant TA OPERATING LLC,
D/B/A TA TRUCK SERVICE. expressed to the Plaintiff, AMAURY GARCIA, that they would
respond and provide roadside assistance within the next two hours.

8. That over the course of the following hours, Plaintiff, AMAURY GARCIA, as well
as person(s) on his behalf, contacted TA OPERATING LLC, d/b/a TA TRUCK SERVICE, to
inquire as to the status of their roadside assistance.

9. That Plaintiff, AMAURY GARCIA, relied on representations and statements from
Defendant, TA OPERATING LLC, d/b/a TA TRUCK SERVICE, that they would in fact respond
- to the scene within finite Permds Girne. |

10. Asa result of the representations and statements made to Plaintiff, AMAURY
GARCIA, and other person(s) on his behalf, by Defendant, TA OPERATING LLC, d/b/a TA
TRUCK SERVICE, Plaintiff waited in his vehicle for their roadside assistance.

11. That at approximately 4:52 a.m., on August 17, 2018, the vehicle driven by Co-
Defendant, RAYMOND GUERRERO BARRON as agent and/or employee of Defendant,
RUHLIG FARMS, LLC., and/or RUHLIG FARMS AND GARDENS, crossed over onto the right
shoulder of the highway, striking Plaintiff's vehicle.

12. That following the above subject collision, after approximately 5:00 a.m.. on
August 17, 2018, Defendant, TA OPERATING LLC, d/b/a TA TRUCK SERVICE, finally
responded to Plaintiff's roadside assistance call from the prior day.

13. That Defendant, TA OPERATING LLC. d/b/a TA TRUCK SERVICE, had a duty
to either respond to the roadside call in a reasonable amount of time or advise the Plaintiff that he

should seek alternative assistance due to an almost twelve-hour delay in response time.
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14, That it was reasonably foreseeable that a vehicle would collide with Plaintiff's
vehicle on the shoulder of the road while waiting for service.

15. That Defendant knew or should have known that Plaintiff was at an increased risk
of harm by sitting parked on the shoulder of the road for an extended period of time.

16. | That Defendant breached its duty by not responding to the call and not advising the
Plaintiff to seek alternative roadside assistance and placed the Plaintiff in a position of peril and
danger by having him wait on the side of the road for almost twelve hours.

17. That as a direct and proximate result of Defendant’s careless and negligent act,
Piaintiff, AMAURY GAR City sustained severe and permanent injuries, including butiotiinuied:
to, past and future medical bills, past and future wage lost wages, pain and suffering, loss of normal
life, and permanent disfigurement. The Plaintiff then and there sustained severe and permanent
injuries, and was, and will be, hindered and prevented from attending to his usual duties and affairs
of life, and has lost, and will lose, the values of that time as aforementioned. Further, Plaintiff
suffered great pain and anguish, both in mind and body, and will, in the future, continue to suffer.
Plaintiff further expended and became liable for, and will expend and become liable for, large
sums of money for medical care and services endeavoring to become healed and cured of said
injuries.

WHEREFORE, the Plaintiff, AMAURY GARCIA, demands judgment against the
Defendant, TA OPERATING LLC, d/b/a TA TRUCK SERVICE, in such amount in excess of
SEVENTY-FIVE THOUSAND DOLLARS ($75,000.00) as may be deemed just and suitable, plus

costs of said suit.
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Plaintiff, AMA IA,

By:

 

ee L. Leiter
